                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             DANVILLE DIVISION

  UNITED STATES OF AMERICA                  )
                                            )        Case No.: 4:18-cr-00012
  v.                                        )
                                            )
                                            )
  DASHAWN ROMEER ANTHONY, )
  etal.,                  )
                                            )        By: Michael F. Urbanski
         Defendants.                        )        Chief United States District Judge

                                           ORDER

         This matter comes before the court due to the recently discovered special state and

  multijurisdictional grand jury materials concerning gang activity in D anville, Virginia. The

  issue of the belatedly discovered materials was presented to the court in the related case,

  United States v. Marcus Davis, 4:18-cr-11. These materials were produced by various means

  (email, hand delivery, etc.) to counsel for defendant Marcus Jay Davis. The court now

  ORDERS the government to disclose all special state and multijurisdictional grand jury

  transcripts, notes, documents, or materials of any kind that were disclosed to defense

  counsel in Davis to counsel for defendants in this matter. As some of these transcripts were

  produced to Davis defense counsel in rough form, due to the time pressure of the

  impending (and at times ongoing) trial, the court also DIRECTS counsel for government to

  have verified transcripts prepared and produced.

         It is so ORDERED.




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